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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Case No. 16-CV-0930-RBJ

SANTIAGO ABREU,

Plaintiff,

v.

LOST DOG PIZZA LIMITED LIABILITY COMPANY,
d/b/a BROWN DOG PIZZA,

Defendant.
____________________________________________________________________________

   ORDER GRANTING STIPULATED MOTION TO DISMISS WITH PREJUDICE
____________________________________________________________________________


        THIS MATTER having come before the Court upon the parties’ Stipulated Motion to

Dismiss with Prejudice [ECF No. 27], and the Court being fully advised in the premises,

        HEREBY GRANTS the parties’ Motion and ORDERS that this matter is dismissed

with prejudice.
                         7th
        SO ORDERED this ______         December
                               day of _____________, 2016.

                                                   BY THE COURT:



                                                   ______________________________
                                                   United States District Court Judge
